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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                  Case No. 05-80955

v.                                              HONORABLE AVERN COHN

D-8, BRIAN RONNELL GARRETT,

                    Defendants,
                                  /


                     ORDER DENYING MOTION FOR NEW TRIAL

      On December 07, 2007, defendant was found guilty of conspiracy to commit money

laundering, 18 USC §1956, by a jury. Now before the Court is defendant’s Motion For New

Trial And Renewed Motion For Judgment Of Acquittal. Essentially defendant says there

was insufficient evidence at trial to support the jury’s verdict. Defendant is wrong; there

was sufficient evidence at trial to sustain the jury’s verdict. The motion is DENIED.

      No extended discussion of the evidence at trial is necessary. The government’s

response to defendant’s motions describes the evidence very well:

             At trial the government presented evidence that defendant
             transported cocaine proceeds for a large scale drug
             organization co-led by two brothers, Terry Flenory and
             Demetrius Flenory. This organization called itself the Black
             Mafia Family (“BMF”). The government presented evidence
             which included the testimony of cooperating co-defendants
             Arnold Boyd, Charles Parson, Eric Bivens and Bruce Martin.
             These witnesses testified from their personal knowledge that
             defendant Garrett drove drug proceeds on behalf of BMF.
             Further, the evidence included an incident in Texas where the
             defendant was arrested after a vehicle in which he was a
             passenger, was stopped, searched and found to contain
             $723,000.00 concealed in secret compartments. Both the
             defendant and the driver, Kim Williams made contradictory
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              statements to the arresting officer concerning their destination.
              Defendant Garrett stated that he was going to visit relatives in
              Sherman Oaks, California but could not or would not name
              those relatives. Evidence was also presented which showed
              that Terry Flenory had a residence in Sherman Oaks.
              Additionally, several drug ledgers were introduced which
              contained notations relating to payments to “White Boy”
              (defendant Garrett’s nickname) and “Kim.” There was direct
              testimony from co-conspirators that these ledgers referred to
              payments made to Garrett for driving drug proceeds across the
              country. Lastly, evidence was produced showing that Garrett
              was seen in several locations across the country which were
              used by BMF to store drugs and money.

       This evidence taken in a light most favorable to the government was sufficient for

the jury to find defendant guilty.

       SO ORDERED.



                                           s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


Dated: January 10, 2008


I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
on this date, January 10, 2008, by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160




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